                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                V.
                                       Cr.   No.   19-10075-MLW

RUDOLPH MEREDITH,
        Defendant.

                     MEMORANDUM AND ORDER (UNDER SEAL)

                                                          March 21,   2019
WOLF,    D.J.


    On March 8, 2019, the government filed under seal a March 4,
2019 Cooperation Agreement with defendant Rudolph Meredith, the
former head soccer coach at Yale University (Docket No. 13-1). At
that time the case was sealed. Upon motion by the government, the
case was unsealed on March 12, 2019. The Cooperation Agreement,
however, remains sealed.

        A hearing to address Meredith's request to waive indictment
and plead guilty to the charges against him will be held on March
28, 2019. It appears to the court that the Cooperation Agreement
should be unsealed before that hearing. There is a presumptive
right of public access to judicial records on which judicial
decisions are made. See United States v. Kravetz, 706 F.3d 47, 56
{1st Cir. 2013); FTC v. Standard Fin. Mqmt. Corp., 830 F.2d 404,
410 (1st Cir. 1987) . In certain circumstances the interest in
maintaining the confidentiality of a defendant's cooperation may
be sufficient to overcome this presumption. However, in this case
an affidavit fil6d for the public record in support of criminal
complaints concerning other defendants identifies "the head coach
of women's soccer at Yale" as a cooperating witness. See 19-mj-
06087, Docket No. 3-2, 122. The media has publicly reported that
Meredith is cooperating with the government. See, Q•9•/ David
Owens, Former Yale Soccer Coach and Prominent Greenwich Lawyer
among Dozens Indicted in Sweeping College Admissions—Bribery
Scandal,      Hartford     Courant,      Mar.     12,       2019,
https://www.courant.com/news/connecticut/hc-news-yale-soccer-
coach-bribes-20190312-xz3dfbea7na3xetuetrxnet264-story.html; Lori

Mack, Yale University among Schools Targeted in College Cheating
Scandal,   NPR, Mar.   12,   2019,   https://www.wnpr.org/post/yale-
university-among-schools-targeted-college-cheating-scandal.

     Therefore, as continued impoundment will not protect any
legitimate interest, but would require closing part of the March
28, 2019 hearing, it appears to the court that the Cooperation
Agreement should be unsealed. S^ Associated Press v. U.S. Dist.
Ct. for Cent. Dist. Gal., 705 F.2d 1143, 1146 (9th Cir. 1983)
 (holding that to properly close a proceeding "there must be 'a
 substantial probability that closure will be effective in
 protecting against the perceived harm'") (quoting United States v.
 Brooklier, 685 F.2d 1162, 1167 (9th Cir. 1982)); United States v.
 Salemme, 978 F. Supp. 364, 375 (D. Mass. 1997).
     In view of the foregoing, it is hereby ORDERED that:

     1.   The parties shall confer and, by March 25, 2019, report

whether either or both object to the unsealing of the Cooperation

Agreement (Docket No. 13-1) . If a party objects, it or he shall
simultaneously file, under seal, an affidavit and memorandum in
support of the objection.

     2.   This   Memorandum   and   Order   is   SEALED   at   least

temporarily.




                                     UNITED STATES DISTRICT JUDqfe
